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                                                                                              FILED
                                                                                              08-18-2023
                                                                                              Clerk of Circuit Court
                                                                                              Racine County
STATE OF WISCONSIN                      CIRCUIT COURT              RACINE COUNTY
                                                                                              2023CF000210
                                                 DA Case No.: 2023RA000457
STATE OF WISCONSIN                               Assigned DA/ADA: John M Wagner
                          Plaintiff,             Agency Case No.: 21-069489
                                                 Court Case No.:
vs.                                              ATN: 52006000213862

GINA K AMBASAN
4110 Knoll Pl
Racine, WI 53403                                 AMENDED INFORMATION
DOB: 06/22/1964
Sex/Race: F/W
Eye Color: Green
Hair Color: Brown
Height: 5 ft 3 in
Weight: 160 lbs
Alias:
                        Defendant.


I, Patricia J. Hanson, District Attorney in and for Racine County, State of Wisconsin, do hereby inform the
court that the defendant did commit within the jurisdiction of Racine County, Wisconsin, the following
crime(s):

Count 1: ATTEMPT MISCONDUCT/OFFICE-FAIL/PERFORM KNOWNDUTY

The above-named defendant on or about and between August 1, 2019, and December 31, 2019, in the
Village of Sturtevant, Racine County, Wisconsin, attempted to unlawfully, intentionally, and feloniously, in
the officer's or employee's capacity as such officer or employee, does an act which the officer or employee
knows is in excess of the officer's or employee's lawful authority or which the officer or employee knows the
officer or employee is forbidden by law to do in the officer's or employee's official capacity., contrary to sec.
946.12(1), 939.50(3)(i), 939.32 Wis. Stats., a Class A Misdemeanor, and upon conviction may be fined not
more than Ten Thousand Dollars ($10,000), or imprisoned not more than nine (9) months, or both.

Count 2: ATTEMPT DELIVER ILLEGAL ARTICLES TO INMATE

The above-named defendant on or about and between August 1, 2019, and December 31, 2019, in the
Village of Sturtevant, Racine County, Wisconsin, as an officer, attempted to deliver to any inmate confined
in a state prison any article or thing whatever with intent that any inmate confined in the jail or prison shall
obtain or receive the same contrary to the rules or regulations and without the knowledge or permission of
the warden of the prison, contrary to sec. 302.095(2), 939.50(3)(i), 939.32 Wis. Stats., a Class A
Misdemeanor, and upon conviction may be fined not more than Ten Thousand Dollars ($10,000), or
imprisoned not more than nine (9) months, or both.



The official records and files of the Racine County District Attorney's Office, the Wisconsin Department of
Justice and/or Department of Transportation reflect that the defendant has the following record of
convictions:




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STATE OF WISCONSIN - VS - Gina K Ambasan

contrary to the form of the statute, in such case made and provided, and against the peace and dignity of
the State of Wisconsin.


Date Signed: 08/18/23
Electronically Signed By:
John M Wagner
Assistant District Attorney
State Bar #: 1107583




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